Case 8-19-71978-reg Doc 20 Filed 04/02/19 Entered 04/02/19 17:04:09

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UNITED sTATEs BANKRUPTCY CoURT
soUTHERN DISTRICT oF NEW YORK
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ln re:
lndex No. 19-71978 (REG)
COMMACK PLAZA LLC, d/b/a ARA,
d/b/a ARA GREEK KITCHEN & BAR Chapter ll
d/b/a ARA GREEN KITCHEN AND BAR

Debtor.

 

AFFIDAVIT PURSUANT TO LOCAL BANKRUPTCY RULE 1007-4
STATE OF NEW YORK )
CoUNTY oF sUFFoLK § S'S‘:

STEVE MENEXAS, being duly sworn, deposes and says:

l. l am the managing member of Commack Plaza, LLC d/b/a Ara d/b/a Ara
Greek Kitchen & Bar, d/b/a Ara Greek Kitchen & Bar (the “Debtor”) under chapter ll of
title ll of the United States Code (the “Bankruptcy Code”), and, as such, am fully
familiar With the fact and circumstances set forth herein.

2. This case is not a case originally commenced under chapter 7, 12, or 13,
and, as such, no trustee has been appointed and no creditors committed elected pursuant
to Bankruptcy Code §705.

3. No committee Was organized prior to the filing of the above-referenced

chapter l l bankruptcy.

Case 8-19-71978-reg Doc 20 Filed 04/02/19 Entered 04/02/19 17:04:09

4. The names and addresses of the twenty (20) largest general unsecured
creditors of the Debtor, excluding such creditors as were insiders of the debtor at the time
of the filing who would not be entitled to vote at a Creditors’ Meeting under Rule 1007 of
the Federal Rules of Bankruptcy Procedure (the “Federal Rules”) and §1102 of the
Bankruptcy Code, are listed on the annexed Schedule E/F.

5. The Debtor has secured creditors as follows: (a) NewBank, which holds a
senior secured claim on substantially all of the Debtors’ assets, perfected by UCC-l; and
(b) US Foods, lnc., which holds a junior secured claim on substantially all of the Debtor’s
assets, perfected by UCC-l.

6. The Debtor has assets as listed on Schedule A/B to the Debtors Petition.

7. The Debtor has liabilities as listed on Schedule D, E/F and G of the
Debtor’s Petition.

8. The Debtor is a limited liability company with one-third interests held by
the following: (a) Steve Menexas; (b) Giorgios Menexas; and (c) Antonios Dagounakis.

9. The Debtor leases: (a) the real property located at, and known as, 2 Henry
Street, Commack, New York (the “Real Property”) from PJ Venture FG, LLC (the
“Landlord”), pursuant to a lease agreement, subsequent amendments, and stipulations of
settlement (collectively, the “Lease”), for base rent of $17,735.58, and common area
charges of $1,800.00, for a monthly obligation of $l9,525.58 (the “Rent”); and (b) two
(2) industrial dishwashers from EcoLab with monthly payments of $124.86 and $244.95

respectively.

Case 8-19-71978-reg Doc 20 Filed 04/02/19 Entered 04/02/19 17:04:09

10. The Debtor’s significant assets and books and records are located at the
Real Property, and none of the Debtor’s assets are located outside the territorial limits of
the United States.

ll. The Debtor is a defendant in a several actions, including: (a) a non-
payment action entitled PJ Venture FG, LLC v. Commack Plaza, in the District Court of
the County of Suffolk, Fourth District: Smithtown, assigned index number LT-000180-
lS/SM; (b) an action by an equity interest holder entitled Antom'os Dagounakis v. Bay
Terrace Plaza, LLC, et al., assigned index number 61264/2018 in the Supreme Court of
the State of New York, County of Nassau, which was consolidated with a separate case
previously pending before the Supreme Court of the State of New York, County of
Suffolk; and (c) various trade vendor collection actions, as listed on the Statement of
Financial Affairs.

12. The Debtor is has senior management as follows: (a) Tina Menexas,
Director of Operations; (b) Cesar Acosta, General Manager, (c) Moataz Sherif, Manager,
and (d) Juan Larrea, Kitchen Manager.

13. The Debtor has not paid any officer or member within the past twelve (12)
months and Debtor does not intend to make payments to the officers during the pendency
of the Bankruptcy.

14. The Debtor has monthly payroll of approximately $52,750.

15. The Debtor not anticipates receiving approximately $110,000 of gross

sales in the next thirty (3 0) days.

Case 8-19-71978-reg Doc 20 Filed 04/02/19 Entered 04/02/19 17:04:09

16. The Debtor has monthly expenses as follows:
Rent $ 19,526
lnventory $ 24,000
Utilities $ 4,800
Open Table $ 600
Marketing $ 1,100
Advertising $ 1,600
Maintenance and Supplies $ 610
Dishwasher Leases $ 370
lnsurance $ 1 ,750
Payroll $ 28,750
Managers Payroll $ 24,000
Officer Payroll $ 0
TOTAL $ 107,106

17. The location of the Debtor’s books and records are at the above-address

and in the possession custody and control of Peter Stellatos, the Debtor’s accountant
18. No assets of the Debtor are outside of the territorial limits of the United

States.

COMMACK PLAZA, LLC

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Steve Menexas
Managing Meiiiber

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Sworn to before me this
l day Of Aprii, 2019

 

Notary' Pub|lc, State of NY
NO. 02MA6279300

Qua|it"led in Suffo|k Cou y
Commission Expires Apri| B, 2

